        Case 9:20-cv-00155-DLC Document 7 Filed 11/06/20 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 JAMES W. CARROLL and
 DOROTHY M. CARROL,                               CV 20–155–M–DLC
                        Plaintiffs,

        vs.
                                                   ORDER
 EQUITABLE LIFE & CASUALTY
 INSURANCE COMPANY, and JOHN
 DOES 1-20,

                      Defendants.

      Defendant Equitable Life & Casualty Insurance Company moves for the

admission pro hac vice of Susan E. Egeland to practice before this Court. (Doc. 6.)

Jill Gerdrum of Axilon Law Group, PLLC indicates that she will act as local

counsel. Ms. Egeland’s application appears to be in order.

      Accordingly, IT IS ORDERED that the motion (Doc. 6) is GRANTED on

the condition that Ms. Egeland do her own work. This means that she must: (1) do

her own writing; (2) sign her own pleadings, motions, and briefs; and (3) appear

and participate personally. If she has not already done so, Ms. Egeland shall take

steps to register on the Court’s website, www.mtd.uscourts.gov, or from the

Clerk’s Office.




                                        -1-
         Case 9:20-cv-00155-DLC Document 7 Filed 11/06/20 Page 2 of 2



      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Ms. Egeland, within fifteen (15) days of this Order, files a separate pleading

acknowledging her admission under the terms set forth above.

      DATED this 6th day of November, 2020.




                                        -2-
